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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF ARKANAS
                              WESTERN DIVISION

SHIELA HOLMES                                                                 PLAINTIFF

                                CASE NO. 10-CV-01165-SWW
V.

MICHAEL RUSSELL, INDIVIDUALLY
AND OFFICIALLY, AND JERRY HENRY
INDIVIDUALLY AND OFFICIALLY                                               DEFENDANTS

        MOTION FOR EXTENSION OF TIME TO FILE RESPONSE TO
       DEFENDANTS’ SECOND MOTION FOR SUMMARY JUDGMENT

       Comes now the Plaintiff and moves this Honorable Court for an extension of time

to file her response to the Defendants’ Second Motion for Summary Judgment and as the

basis for said motion states:

       1.      Defendants filed a second Motion for Summary Judgment on or about

April 27, 2012.

       2.      Attached to the Defendants’ Second Motion for Summary Judgment are

certain exhibits referenced to in the said motion containing information which was not

previously provided to the Plaintiff. In addition for the first time and contained within

the Second Motion for Summary Judgment are supplemental answers to interrogatories

never provided to the Plaintiff as well as references to the Osceola Police Handbook not

previously provided.

       3.      That response to the Second Motion for Summary Judgment will require

additional investigation and time to adequately address issues of law and fact.

       4.      In addition, due to the trial and court schedule of the undersigned, the time




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to respond to the Second Motion for Summary Judgment is not sufficient to prepare an

adequate response.

          5.     That this motion is not made for any dilatory reasons but is in the best

interest of justice.

          6.     That on this date, the undersigned counsel has made attempts to contact

opposing counsel prior to filing this motion, however due to the holiday, efforts have

been unsuccessful.

          7.     However, opposing counsel previously agreed to an extension of time of

thirty (30) days, prior to the Court issuing an Oder requiring a shorter time in which to

respond.

          WHEREFORE, the Plaintiff prays that this court grant an additional twenty (20)

days within which to respond or until June 17, 2012 and for all other proper and just

relief.

                                                       Respectfully submitted,

                                                       /s/Teresa Bloodman
                                                       Teresa Bloodman #2005055
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                              CERTIFICATE OF SERVICE

I, Teresa Bloodman, hereby certify that on this 28th day of May, 2012, I electronically filed
the foregoing with the Clerk of Court using the CM/ECF System, which will send
notification of such filing to all CM/ECF participating counsel of record listed below; and I
further certify that I have mailed the document, via U.S. Mail, postage prepaid, to all non
CM/ECF participants listed below:


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                                               /s/Teresa Bloodman
                                                Teresa Bloodman




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